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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF KENTUCKY
                              OWENSBORO DIVISION

JOHNNY McCLURG,                              )
on Behalf of Himself and All                 )
Others Similarly-Situated,                   )      PROPOSED COLLECTIVE ACTION
                                             )      UNDER FLSA AND CLASS ACTION
       Plaintiff,                            )      UNDER KWHA
                                             )
                                             )       CASE NO.      4:20-cv-201-JHM
v.                                           )
                                             )
DALLAS JONES ENTERPRISES                     )      JURY DEMANDED
INC, d/b/a CLAY’S TRUCKING                   )
                                             )
       Defendant.                            )
                                             )

              AMENDED COLLECTIVE AND CLASS ACTION COMPLAINT

       Comes Plaintiff Johnny McClurg, by and through counsel, and, for his Collective and Class

Action Complaint against Defendant Dallas Jones Enterprises, Inc. d/b/a Clay’s Trucking, states

as follows:

                                    Summary of the Action

       1.      Plaintiff was employed by Defendant as a truck driver. Plaintiff worked overtime

in many workweeks but was not paid overtime compensation for his overtime work. Instead,

Defendant would pay Plaintiff at the same rate for work performed beyond forty hours per week

as Defendant paid Plaintiff for work during the first forty hours of each work week. There is a

Motor Carrier Act exemption to the Fair Labor Standards Act (“FLSA”) for drivers of certain

vehicles weighing more than ten thousand pounds (29 U.S.C. § 213(b)(1)), and the vehicle Plaintiff

drove weighed more than ten thousand pounds. However, the exemption did not apply to Plaintiff,

and Plaintiff was therefore entitled to overtime pay, because Plaintiff did not drive his truck in

“interstate commerce” as defined under the Motor Carrier Act. Like Plaintiff, other workers
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similarly performed work for Defendant that was not exempt under the FLSA (including not being

exempt under the Motor Carrier Act exemption to the FLSA) and were similarly not paid overtime

compensation as required by the FLSA for their overtime work.

                                 JURISDICTION AND VENUE

       2.      This Court has jurisdiction over the claims of Plaintiff and those similarly situated

pursuant to 28 U.S.C. §§ 1331 and 1337 and 29 U.S.C. § 216(b).

       3.      This Court has and should exercise supplemental jurisdiction pursuant to 28 U.S.C.

§ 1367 over Plaintiff’s claims under the Kentucky Wages and Hours Act (“KWHA”) because they

are so related to Plaintiff’s claims under the FLSA that they form part of the same case or

controversy and arise from the same set of operative facts as Plaintiff’s claims under the FLSA.

       4.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because Defendant

conducted business within the District and, from its principal place of business in Muhlenberg

County, Kentucky (within the District of this Court), employed Plaintiff (who resides in Hopkins

County, Kentucky, within the District of this Court) and other similarly-situated employees who

worked within the District of this Court and, specifically, employed truck drivers delivering coal

from a coal mine in Ohio County, Kentucky (within the District of this Court) to a power plant

located in Ohio County, Kentucky (within the District of this Court).

                                             PARTIES

       5.      Plaintiff Johnny McClurg is a resident of Hopkins County, Kentucky.

       6.      During the three (3) year period prior to the filing of Plaintiff’s initial Complaint in

this matter, Plaintiff was employed by Defendant as a truck driver performing work that was not

exempt from the requirements of the FLSA, and during the five (5) year period prior to the filing
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of the initial Complaint in this matter, Plaintiff was employed by Defendant as a truck driver

performing work that was not exempt from the requirements of the KWHA.

       7.      Pursuant to 29 U.S.C. § 216(b), Plaintiff McClurg has consented in writing to

serving as a Plaintiff in this action, and Plaintiff’s consent was attached to Plaintiff’s initial

Complaint filed in this action (Ct. Doc. 1) as Exhibit 1.

       8.      Defendant Dallas Jones Enterprises, Inc. is a Kentucky for-profit corporation which

operates under the assumed name of Clay’s Trucking, has a principal place of business at 3326

Merle Travis Highway, Beechmont, KY, and may be served by service of process on its registered

agent, Dallas Jones, at 3326 Merle Travis Highway, Beechmont, KY 42323.

       9.      The FLSA contains a different definition of “interstate commerce” than that

contained in the MCA, and applies that definition differently. See American Bar Association,

Section of Labor and Employment, Fair Labor Standards Legislation Committee, Ch. 6.III.A.3.c

(i) . (“[t]he definition of ‘interstate or foreign commerce’ under the MCA is not identical to the

definition of ‘interstate or foreign commerce’ ending under the FLSA….                  Consequently,

transportation by motor vehicle that is in ‘interstate commerce’ under the FLSA may not constitute

transportation over which the DOL has the power to exercise control and upon which the Section

13(b)(1) exemption is based”).

       10.     Indeed, 29 C.F.R. § 782.7 provides that:

       section 13(b)(1) of the Fair Labor Standards Act does not exempt an employee of
       a carrier from the act’s overtime provisions unless it appears, among other things,
       that his activities as a driver, driver's helper, loader, or mechanic directly affect the
       safety of operation of motor vehicles in transportation in interstate or foreign
       commerce within the meaning of the Motor Carrier Act. What constitutes such
       transportation in interstate or foreign commerce, sufficient to bring such an
       employee within the regulatory power of the Secretary of Transportation under
       section 204 of that act, is determined by definitions contained in the Motor Carrier
       Act itself. These definitions are, however, not identical with the definitions in the
       Fair Labor Standards Act which determine whether an employee is within the
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       general coverage of the wage and hours provisions as an employee “engaged in
       (interstate or foreign) commerce.” For this reason, the interstate commerce
       requirements of the section 13(b)(1) exemption are not necessarily met by
       establishing that an employee is “engaged in commerce” within the meaning of the
       Fair Labor Standards Act when performing activities as a driver, driver's helper,
       loader, or mechanic, where these activities are sufficient in other respects to bring
       him within the exemption.

       11.     Accordingly, at a given times, a truck driver employee of an employer may be

covered by the FLSA, but not covered by the MCA exemption because the employee’s work

driving trucks is solely intrastate; this is true even if other drivers of the same employer perform

interstate work and are covered by the exemption. See, e.g., Chaohui Tang v. Wing Keung Enters.,

Inc., 210 F. Supp. 3d 376 (E.D.N.Y. 2016) (finding that, even though other drivers of defendant-

employer with out-of-New-York routes were exempt under MCA exemption to FLSA, certain

truck drivers with solely-New-York routes were not covered by MCA exemption where “drivers…

were not randomly assigned to the out of state routes as it was beneficial for each driver... to be

familiar with the routes, and once trained for the routes was kept on that route”).

       12.     This Court has long recognized these principles Reynolds v. Rogers Cartage Co.,

71 F.Supp. 870 (W.D. Ky. 1947) (“Under the Fair Labor Standards Act, an employee engaged in

the production of goods for commerce, though driving entirely within the State of Kentucky,

might, without violating the provisions of the Fair Labor Standards Act, work twenty consecutive

hours out of a period of twenty-four and might continue this practice over several days during a

work week, so long as the driver was compensated by payment of time and one-half of his regular

pay, for all hours in excess of forty hours. But should the occasion arise, that the same driver on

some day in that week should make a trip in interstate commerce, the employer would thereby put

himself within the terms of the Motor Carrier Act for the entire week”).
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       13.     The Sixth Circuit has also recognized these principles.        Baird v. Wagoner

Transportation Co., 425 F. 2d. 407, 412 (6th Circuit 1970) (drivers who moved products solely-

intrastate commerce were involved in interstate commerce for the purpose of the FLSA and

therefore covered employees under the FLSA but not involved in interstate commerce for the

purposes of Motor Carrier Act, and therefore not subject to the Motor Carrier Act exemption to

FLSA; noting that “[w]hile the parties have stipulated that they are engaged in ‘interstate

commerce’ for the purposes of the FLSA, such stipulation does not necessarily require a

conclusion that their activities were in ‘interstate commerce’ for the purposes of the MCA”).

       14.     In addition to containing a different definition of interstate commerce than that

utilized in the Motor Carrier Act, the FLSA provides “enterprise coverage” under which all

employees of an enterprise engaged in interstate commerce are covered by the FLSA, whether or

not each individual employee is involved in work in interstate commerce. 29 U.S.C. § 203 (r), (s).

       15.     Defendant’s annual sales have, at all relevant times to this Complaint, exceeded

$500,000.00.

       16.     Defendant is an enterprise engaged in commerce or in the production of goods for

commerce, as defined in 29 U.S.C. § 203.

       17.     In the alternative, if Defendant in and of itself is not an enterprise engaged in

commerce or in the production of goods for commerce, as defined in 29 U.S.C. § 203, Defendant

is operated under common control, for a common business purpose, and, upon information and

belief, under common ownership with a related trucking company, DC Trucking, Inc. (“DC

Trucking”); Defendant together with DC Trucking constitute an enterprise engaged in commerce

or in the production of goods for commerce, as defined in 29 U.S.C. § 203, and Defendant’s
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employees therefore qualify as employees of an enterprise engaged in commerce or in the

production of goods for commerce, as defined in 29 U.S.C. § 203.

       18.     The Kentucky Secretary of State listing for DC Trucking is attached hereto as

Exhibit 1.

                                       Factual Allegations

       19.     Plaintiff has worked as a truck driver for many years.

       20.     Around the year 2007, Plaintiff was diagnosed with diabetes.

       21.     After Plaintiff was diagnosed by diabetes, for which Plaintiff was prescribed insulin

administered by an insulin pump, Plaintiff approached Defendant.

       22.     As a result of Plaintiff’s diabetes diagnosis and insulin prescription, Plaintiff was

legally prohibited from driving a vehicle requiring a commercial driver’s license unless Plaintiff

obtained one or more medical waivers.

       23.     Specifically, Plaintiff could apply, and did apply, for a waiver from the

Commonwealth of Kentucky to authorize Plaintiff to operate vehicles requiring a commercial

driver’s license solely in intrastate commerce (i.e., not in interstate commerce as defined in the

federal Motor Carrier Act).

       24.     Plaintiff applied for a medical waiver and received such waiver; attached hereto as

Exhibit 2 are cards Plaintiff received from the Kentucky Transportation Cabinet noting that

Plaintiff’s medical waiver was granted.

       25.     Each of the cards specifically notes in all-capital, bold font that “THIS WAIVER

VALID DURING INTRASTATE COMMERCE ONLY.”

       26.     There is a process for persons with diabetes to seek a medical waiver from the

federal Department of Transportation to obtain the right to operate a vehicle requiring a
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commercial driver’s license in interstate commerce (as defined in the federal Motor Carrier Act);

however, Plaintiff did not obtain such a waiver from the federal government, either before or

during his employment with Defendant.

       27.     When Plaintiff discussed with Defendant’s management the possibility of Plaintiff

being employed by Defendant prior to Plaintiff’s employment, Plaintiff and Defendant’s

management specifically discussed Plaintiff’s diabetes diagnosis, Plaintiff’s insulin use, Plaintiff’s

medical waiver from the Commnwealth of Kentucky, and that Plaintiff did not have any medical

waiver from the federal government.

       28.     Prior to Plaintiff beginning to perform work, and throughout Plaintiff’s

employment with Defendant, Defendant received and maintained copies of Plaintiff’s medical

waiver cards from the Kentucky Transportation Cabinet (attached as Exhibit 2, or the equivalent

predecessor or successor card(s)), and was aware that Plaintiff was not legally permitted to drive

commercial trucks in interstate commerce (as defined in the Motor Carrier Act).

       29.     Plaintiff and Defendant agreed during these discussions that Defendant could hire

Plaintiff only to operate vehicles requiring a commercial driver’s license in intrastate commerce,

and that Plaintiff was not legally authorized to operate vehicles requiring a commercial driver’s

license in intrastate commerce (as defined in the Motor Carrier Act).

       30.     Plaintiff and Defendant agreed that Plaintiff would be hired to drive trucks solely

in intrastate commerce (not interstate commerce as defined in the Motor Carrier Act).

       31.     In other words, although Defendant sometimes had drivers perform truck driving

in interstate commerce (as defined in the Motor Carrier Act), Plaintiff and Defendant agreed that

those assignments would not be indiscriminately shared by Plaintiff and Defendant’s other drivers,

but instead that Plaintiff and other drivers legally prohibited from driving in interstate commerce
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(as defined by the Motor Carrier Act) (Defendant has employed in intrastate commerce other

drivers who, like Plaintiff, were prohibited from driving in interstate commerce) would only be

assigned work that did not involve interstate commerce and that Defendant’s other drivers who

were not legally prohibited from driving in interstate commerce (as defined in the Motor Carrier

Act) would conduct all of the work involving interstate commerce.

       32.    Plaintiff, during the three years preceding the filing of this Complaint, was, for a

period of time, regularly and exclusively assigned by Defendant to deliver coal from the Genesis

Coal Mine near Centertown, Kentucky to the Big Rivers Wilson Power Plant near Island,

Kentucky. Plaintiff’s work for Defendant during this period of time is referred to herein as the

Big Rivers Run Period.

       33.    During the Big Rivers Run Period, Plaintiff was exclusively delivering coal that

was mined in Kentucky, transported solely within Kentucky, and delivered to a Kentucky power

plant facility which, at the time of the delivery, intended to use the coal solely within the

Commonwealth of Kentucky; the coal ultimately was in fact used solely within the Commonwealth

of Kentucky by the power plant burning the coal in the Commonwealth of Kentucky for electric

power production.

       34.    Because Plaintiff was driving the truck solely within the Commonwealth of

Kentucky to deliver coal from a Kentucky mine (where it was removed from the earth in the

Commonwealth of Kentucky) to another location within the Commonwealth of Kentucky where

it would be burned and sent into the atmosphere, Plaintiff’s work driving said truck was not work

“interstate commerce” as defined under the Motor Carrier Act.
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       35.     Both during the Big Rivers Run Period, and after that period, Defendant, for its own

part, categorized Plaintiff as being involved in intrastate trucking (that is, as not being engaged

interstate commerce as defined in the Motor Carrier Act).

       36.     Upon information and belief, Defendants represented to third parties, including the

Kentucky Transportation Cabinet and the federal Department of Transportation, that Plaintiff was

not driving vehicles requiring a commercial driver’s license in interstate commerce (as defined by

the Motor Carrier Act).

       37.     Throughout Plaintiff’s employment, Plaintiff had a reasonable expectation that he

would not be assigned to perform truck driving in interstate commerce (as defined in the Motor

Carrier Act), including because Plaintiff and Defendant were both aware that Defendant was

legally prohibited from assigning Plaintiff to perform truck driving in interstate commerce because

Plaintiff was not legally permitted to drive trucks in interstate commerce because he had not

received the federal waiver legally necessary for persons with diabetes who receive insulin to

operate trucks in interstate commerce.

       38.     Further, upon information and belief, Defendant categorized Plaintiff as intrastate

(and categorized Plaintiff as not being involved in interstate commerce as defined in the Motor

Carrier Act) specifically because Defendant sought to avoid complying with the provisions of the

Motor Carrier Act applying to interstate trucking.

       39.     After the Big Rivers Run Period, Plaintiff was assigned different duties.

       40.     During this later period after the Big Rivers Run Period, Plaintiff continued to

deliver coal to the Big Rivers Wilson Power Plant, but also in some weeks delivered coal from the

Genesis Coal Mine to one of two coal loadout facilities.
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         41.     The coal being delivered to these facilities was then loaded onto to a different mode

 of transportation (one of the facilities was a rail loadout facility that loaded the coal onto train cars,

 and the other was a barge loadout facility that loaded the coal onto barges).

         42.     Many of the deliveries to these loadout facilities were of coal intended by all parties

 to remain in Kentucky, and which ultimately did remain in Kentucky until it was consumed in

 Kentucky.

         43.     For instance, Big Rivers often requested that coal be loaded onto barges at the barge

 load out facility, which was located near the Big Rivers Wilson Power Plant, so that Big Rivers

 could later convey the coal directly into the Big Rivers Wilson Power Plant using equipment it had

 to unload coal from barges; when this occurred, all parties were aware that the coal, which

 originated in the Genesis mine in Kentucky, despite being loaded onto a barge in Kentucky, would

 not be transported out of Kentucky but would instead be moved a short distance on the river

 (entirely within the Commonwealth of Kentucky) to Big Rivers’s barge intake equipment to be

 burned in Kentucky.

         44.     Plaintiff also delivered coal to loadout facilities to be stored in piles at the loadout

 facilities to dry or otherwise be stored; when coal was stored in this method, it was segregated into

 piles based on the intended ultimate destination of the coal.

         45.     For example, if coal was wet due to rain, Big Rivers would, in order to avoid paying

 for the excess moisture (most purchasers of coal buy by the ton), sometimes direct that coal not be

 delivered.

         46.     On these days, Defendant would have Plaintiff move coal ultimately destined to the

 Big Rivers Wilson Power Plant to a storage pile at a loadout facility; one or more particular piles

 were “set aside” for storage of such coal destined to the Big Rivers Wilson Power Plant and, despite
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 being stored at a loadout facility from which the coal, as a practical matter, could be shipped out

 of state, such coal in the set aside would never be shipped out of state but instead would be

 delivered (presumably after it dried) by truck on another day to the Big Rivers Wilson Power Plant.

        47.     In other words, Plaintiff delivered coal to loadout facilities which was not actually

 “loaded out” to a barge or rail form of transportation, but instead simply stored in a pile at the

 loadout facility before being later delivered in Kentucky for use in Kentucky.

        48.     Upon information and belief, in many workweeks after the Big Run Period Plaintiff

 delivered coal which was intended to be destined, and ultimately was delivered to, the Big Rivers

 Wilson Power Plant or delivered coal which was sent to other Kentucky power plants, such as

 Owensboro Municipal Utilities to be consumed in Kentucky, or otherwise drove trucks solely in

 intrastate commerce (not interstate commerce as defined in the Motor Carrier Act).

        49.     To the extent that, in any workweek, Plaintiff performed work that would otherwise

 be within interstate commerce as defined in the Motor Carrier Act (and thus potentially subject to

 the Motor Carrier Act exemption to the FLSA because even though the loadout facilities to which

 Plaintiff delivered the coal were within the Commonwealth of Kentucky, some of the coal was

 destined for out-of-state delivery), Defendant should be estopped from asserting that Plaintiff

 worked in interstate commerce as (1) Defendant hired and employed Plaintiff knowing that

 Plaintiff (A) was legally permitted to work in “INTRASTATE COMMERCE ONLY” (i.e., in

 trucking that does not constitute interstate commerce under the Motor Carrier Act) and (B) was

 legally prohibited from driving a truck in interstate commerce as defined in the Motor Carrier Act

 and (2) Defendant represented to third parties, including the Kentucky Transportation Cabinet

 and/or the federal Department of Transportation, that Defendant was not employing Plaintiff in

 interstate commerce (as defined in the Motor Carrier Act).
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        50.     Defendant paid Plaintiff based on a formula that supposedly paid Plaintiff a

 percentage of the amount Defendant earned from delivering the coal driven by Plaintiff.

        51.     The amount paid by Defendant thus corresponded with the amount received by

 Defendant for the coal being delivered.

        52.     Defendant was paid for the coal being delivered on a per ton basis, and, therefore,

 Defendant paid Plaintiff on a per-ton basis for delivering coal.

        53.     Defendant did not pay Plaintiff a higher per-ton rate for deliveries performed during

 times when Plaintiff was working in excess of forty hours in a particular workweek.

        54.     To the contrary, when Plaintiff would work more than forty hours in a workweek,

 which he frequently did, he would continue to be paid at the same per-ton rate for deliveries made

 after having worked more than forty hours in the workweek as he had been paid for deliveries

 made during the first forty hours in the workweek.

        55.     After Plaintiff filed his initial Complaint in this action, Defendant, without

 providing any supporting documentation for its assertion, made a filing with the Court asserting

 that “for Mr. McClurg’s consideration, his haul records do not show any discrete intrastate-only

 period of time, as alleged. Instead, the records show his consistently making drops at railway and

 waterway depots.”

        56.     This filing was made in connection with a motion Defendant filed under Rule

 12(b)(6) of the Federal Rules of Civil Procedure in which the Defendant did not ask the Court to

 consider facts outside of Plaintiff’s initial complaint, and to assume for purposes of analysis that

 the facts included in Plaintiff’s initial complaint were true; therefore, the inclusion of the factual

 assertion about the haul records “for Mr. McClurg’s consideration” was both irrelevant to the issue

 Defendant asked the Court to decide and gratuitous (Defendant could have conveyed, but chose
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 not to convey, its assertion about the haul records to Plaintiff by email without involving the

 Court).

           57.    As described in more detail below, stops at railway or barge loadout facilities would

 not demonstrate, as Defendant argued in its assertion, that there was “not … any discrete intrastate-

 only period of time.”

           58.    Nevertheless, Plaintiff requested that Defendant provide Plaintiff with the haul

 records so that Plaintiff could consider them, as Defendant had indicated in its unsupported

 statement that Defendant believed Plaintiff should do (Plaintiff did not have copies of the haul

 records and noted in the request that Plaintiff could not consider what the records said unless

 Defendant produced them).

           59.    However, Defendant responded to Plaintiff’s request by refusing to provide

 Plaintiff with Defendant’s haul records, stating that “we are under no obligation to produce records

 to you at this point in the litigation.”

           60.    Upon information and belief, the reason Defendant refused to provide Plaintiff with

 the haul records after making an unsupported assertion to the Court and Plaintiff that Plaintiff

 should consider the contents of those records was that Defendant knew that the content of the haul

 records would be adverse to Defendant; upon information and belief, the content of the haul

 records will establish that Plaintiff engaged in substantial overtime work and that the Motor Carrier

 Act exemption did not apply to Plaintiff’s work.

                    PROPOSED COLLECTIVE AND CLASS DEFINITIONS

           61.    Plaintiff brings Count I of this lawsuit pursuant to FLSA, 29 U.S.C. § 216(b) as a

 collective action, individually, and on behalf of himself and the following collective:

           All current and former truck driver employees of Dallas Jones Enterprises, Inc., doing
           business as Clay’s Trucking, who were not paid at an overtime rate of pay for such
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        employee’s work in excess of forty hours in one or more workweeks since December 7,
        2017, despite the employee qualifying for overtime compensation because the employee
        was not engaged in “interstate commerce” truck driving as defined in the federal Motor
        Carrier Act (the “FLSA Collective”).


        62.     Plaintiff brings Counts II of this lawsuit as a class action pursuant to Fed. R. Civ.

 P. 23, individually, and on behalf of himself and the following class:

        All current and former truck driver employees of Dallas Jones Enterprises, Inc., doing
        business as Clay’s Trucking, who were not paid at an overtime rate of pay for such
        employee’s work in excess of forty hours in one or more workweeks since December 7,
        2015, despite the employee qualifying for overtime compensation because the employee
        was not engaged in “interstate commerce” truck driving as defined in the federal Motor
        Carrier Act (the “Kentucky Class”).


        63.     The FLSA Collective and the Kentucky Class are together referred to as the

 “Classes.”

        64.     Plaintiff reserves the right to redefine the Classes prior to notice, and thereafter, as

 necessary.

               COLLECTIVE ACTION ALLEGATIONS UNDER THE FLSA
        65.     Plaintiff brings this action under the FLSA on behalf of himself and all similarly-

 situated current and former employees of Defendant who worked for Defendant and were not fully-

 paid for their overtime work which Defendant should have paid within the last three years, as

 defined in paragraph 61.

        66.     Plaintiff desires to pursue his FLSA claim on behalf of any individuals who opt-in

 to this action pursuant to 29 U.S.C. § 216(b).

        67.     Plaintiff and the FLSA Collective are “similarly situated,” as that term is used in

 29 U.S.C. § 216(b), because, inter alia, all such individuals worked pursuant to Defendant’s

 previously described common pay practices (of not paying overtime rates of pay to truck drivers,

 even if they qualified for overtime pay) and, as a result of such practices, were not paid the full
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 and legally mandated overtime premium for hours worked over forty (40) during the workweek.

 Resolution of this action requires inquiry into common facts, including, inter alia, Defendant’s

 common compensation, time-keeping and payroll practices.

        68.     Specifically, the employment policies, practices and agreements of Defendant raise

 questions of fact common to the proposed collective group including:

                a. whether Defendant has engaged in a pattern or practice of permitting or
                   requiring Plaintiff and members of the proposed collective to work in excess of
                   forty hours per workweek for the benefit of Defendant and without appropriate
                   compensation, in violation of the FLSA;
                b. whether Defendant has engaged in a pattern or practice of failing to keep
                   accurate records showing all hours worked by Plaintiff and members of the
                   proposed collective, in violation of the FLSA;
                c. whether the conduct of Defendant was willful; and
                d. whether Plaintiff and members of the proposed collective group are entitled to
                   lost wages, liquidated damages and the other relief requested.
        69.     Plaintiff’s claims are similar to those of the FLSA Collective in that Plaintiff has

 been subject to the same conduct as FLSA Collective Members and Plaintiff’s claims are based on

 the same legal theory as FLSA Collective Members.

        70.     The similarly situated employees are known to Defendant and are readily

 identifiable and may be located through Defendant’s business records and the records of any

 payroll companies Defendant uses.

        71.     Plaintiff’s FLSA claims are maintainable as a collective action pursuant to Section

 16(b) of the FLSA, 29 U.S.C. § 216(b).

        72.     The similarly situated employees may be readily notified of the instant litigation

 through direct means, such U.S. mail and/or other appropriate means, and should be allowed to

 opt into it pursuant to 29 U.S.C. § 216(b), for the purpose of collectively adjudicating their similar

 claims for overtime and other compensation violations, liquidated damages, interest, and
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 attorneys’ fees and costs under the FLSA.

        CLASS ACTION ALLEGATIONS PURSUANT TO FED. R. CIV. P. 23 FOR
                  DEFENDANT’S VIOLATIONS OF THE KWHA

        73.     Plaintiff brings this action under the KWHA on behalf of himself and all similarly-

 situated current and former employees of Defendant who worked for Defendant and were not fully-

 paid for their overtime work for which for Defendant which Defendant should have paid within

 the last five years, as defined in paragraph 62.

        74.     Plaintiff is a member of the class he seeks to represent.

        75.     Defendant failed to pay Plaintiff and the members of the class he seeks to represent

 wages for work performed, as described herein, in violation of the KWHA.

        76.     Under the KWHA, employers are required to pay overtime compensation to non-

 exempt employees for overtime work performed by such employees.

        77.     As Plaintiff and the similarly-situated employees were non-exempt, Defendant’s

 refusal to pay Plaintiff and Class Members overtime compensation for overtime hours worked

 violated the KWHA.

        78.     Upon information and belief, the Rule 23 Class is sufficiently numerous that joinder

 of all members is impractical, satisfying Fed. R. Civ. P. 23(a)(1).

        79.     All members of the Rule 23 Class share the same pivotal questions of law and fact,

 thereby satisfying Federal Rule of Civil Procedure 23(a)(2). Namely, all members of the Rule 23

 Class share common questions, including: (1) whether Defendant paid them overtime

 compensation for all overtime worked; and (2) whether Defendant failed to pay them the full

 amount of overtime compensation earned.

        80.     Plaintiff’s claims are typical of the claims of the Rule 23 Class, thus satisfying Fed.

 R. Civ. P. 23(a)(3) typicality. Defendant’s failure to pay Plaintiff overtime compensation was not
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 the result of any circumstances specific to the Plaintiff. Rather, it arose from Defendant’s common

 pay policies of not paying overtime pay, which Defendant applied generally to their employees,

 despite the fact that Plaintiff and the similarly-situated employees were non-exempt and entitled

 to overtime pay.

          81.    Plaintiff will fairly and adequately represent and protect the interests of the Rule 23

 Class.

          82.    Plaintiff has retained competent counsel experienced in representing classes of

 employees in lawsuits against their employers alleging failure to pay statutorily required overtime

 compensation, thus satisfying Fed. R. Civ. P. 23(a)(4).

          83.    By failing to pay Plaintiff and Class Members for all hours worked, and failing to

 pay employees the full amount of overtime compensation earned, Defendant has created the

 circumstance under which questions of law and fact common to the Rule 23 Class members

 predominate over any questions affecting only individual members. Thus, a class action is superior

 to other available methods for fair and efficient adjudication of this matter. Accordingly, Plaintiff

 should be permitted to pursue the claims alleged herein as a class action, pursuant to Fed. R. Civ.

 P. 23(b)(3).

                                              COUNT I

                               VIOLATION OF FLSA
                      NONPAYMENT OF OVERTIME COMPENSATION

          84.    Plaintiff incorporates by reference all preceding paragraphs as if the same were set

 forth again fully at this point.

          85.    Defendant is subject to the wage requirements of the FLSA because Defendant is

 an “employer” under 29 U.S.C. § 203(d).
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           86.   During all relevant times, the members of FLSA Collective, including Plaintiff,

 were covered employees entitled to the above-described FLSA’s protections. See 29 U.S.C. §

 203(e).

           87.   The FLSA requires that covered employees be compensated for all hours worked

 in excess of forty (40) hours per week at a rate not less than one and one-half (1½) times the regular

 rate at which he is employed. See 29 U.S.C. § 207(a)(1).

           88.   Plaintiff and the FLSA Collective are not exempt from the requirements of the

 FLSA.

           89.   Plaintiff and the FLSA Collective are entitled to be paid overtime compensation for

 all hours worked over forty (40) in a workweek pursuant to 29 U.S.C. § 207(a)(1) and 29 C.F.R.

 § 778.112.

           90.   Defendant knowingly failed to compensate Plaintiff and the FLSA Collective at a

 rate of one and one-half (1½) times their regular hourly wage for hours worked in excess of forty

 (40) hours per week, in violation of 29 U.S.C. § 207(a)(1) and 29 C.F.R. § 778.112.

           91.   Indeed, Defendant made no effort to pay overtime compensation at all to Plaintiff

 and the FLSA Collective, paying them on the same per-ton basis for work performed beyond forty

 hours per week as it paid them for work performed in the first forty hours of the workweek.

           92.   Defendant has willfully violated the FLSA by engaging in a pattern or practice (or

 patterns or practices) of:

                 a. failing to keep accurate records showing all the time it permitted and/or required
                    Plaintiff and members of the proposed collective to work, from the first
                    compensable act to the last compensable act;
                 b. permitting and/or requiring Plaintiff and FLSA Collective to perform integral
                    and indispensable activities (i.e., work) in excess of forty hours in a work week,
                    for the benefit of Defendant and without compensation at the applicable federal
                    overtime rates; and
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                  c. failing to pay employees overtime compensation earned.

        93.       Pursuant to 29 U.S.C. § 216(b), employers, such as Defendant, who fail to pay an

 employee wages in conformance with the FLSA shall be liable to the employee for the unpaid

 minimum and overtime wages, an additional equal amount as liquidated damages, reasonable

 attorney’s fees, and costs of the action.

                                              COUNT II

                  VIOLATION OF KY. REV. STAT. ANN. §§ 337.275, ET SEQ.
                            BY NONPAYMENT OF WAGES.


        94.       All previous paragraphs are incorporated as though fully set forth herein.

        95.       Plaintiff bring this claim on behalf of all members of the proposed Rule 23 Class.

        96.       Kentucky state law requires that covered employees be compensated for every hour

 worked in a workweek. See KY. REV. STAT. ANN. §§ 337.275, et seq.

        97.       KY. REV. STAT. ANN. § 337.285 requires that employees receive overtime

 compensation “not less than one and one-half (1-1/2) times” the employee’s regular rate of pay for

 all hours worked over forty in one workweek. See also 803 Ky. Admin. Regs. 1:060.

        98.       During all times material to this complaint, Defendant was a covered employer

 required to comply with KY. REV. STAT. ANN. § 337.010(1)(d).

        99.       During all times material to this complaint Plaintiff and the Rule 23 Class were

 covered employees entitled to the protections of the KWHA. See KY. REV. STAT. ANN. §

 337.010(1)(e).

        100.      Plaintiff and Class Members are not exempt from receiving the KWHA’s overtime

 benefits because they do not fall within any of the exemptions set forth therein. See KY. REV.

 STAT. ANN. § 337.285(2).
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        101.    Defendant has violated the KWHA with respect to Plaintiff and the Rule 23 Class

 by, inter alia, failing to compensate them for all hours worked in excess of forty per workweek at

 one and one-half their “regular rate” of pay.

        102.    In violating the KWHA, Defendant acted willfully and with reckless disregard of

 clearly applicable provisions of the KWHA.

        103.    Pursuant to KY. REV. STAT. ANN. § 337.385, Defendant, because it failed to pay

 employees the required amount of wages and overtime at the statutory rate, must reimburse the

 employees not only for the unpaid wages, but also for liquidated damages in an amount equal to

 the amount of unpaid wages.

        104.    Pursuant to KY. REV. STAT. ANN. § 337.385, Plaintiff and Class Members are

 entitled to reimbursement of the litigation costs and attorney’s fees expended if they are successful

 in prosecuting an action for unpaid wages.

                                      PRAYER FOR RELIEF

        Wherefore, Plaintiff prays that the Court:

        A.      Issue process and bring Defendant before the Court;

        B.      Authorize notice to issue to members of the proposed collective action and

 permitting similarly-situated persons a reasonable opportunity to join this litigation with respect

 to claims under the FLSA;

        C.      Certify a class of similarly-situated employees whose rights were violated by

 Defendant under Kentucky law, and grant relief available under Kentucky law, including unpaid

 wages, liquidated damages, and attorney’s fees and other litigation expenses, to the class;

        D.      Empanel a jury for the trial of all issues of fact;
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             E.   Enter a judgment awarding Plaintiff and the Classes damages in the amount of the

 unpaid overtime compensation, plus liquidated damages in a like amount, in amounts to be proven

 at trial;

             F.   Award Plaintiff and similarly-situated persons joining this litigation all costs of

 litigation, including expert fees and attorneys’ fees;

             G.   Grant Plaintiff and similarly-situated persons joining this litigation all costs of

 litigation and such other further and/or general, legal and/or equitable relief to which they are

 entitled or which the Court otherwise deems appropriate.




                                                Respectfully submitted,

                                                /s/ Mark N. Foster
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